           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                       CRIMINAL NO. 1:07CR33-10


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )           ORDER
                                          )
                                          )
JOHN WILSON PATTON                        )
                                          )


      THIS MATTER is before the Court on the Defendant’s motion in

limine.

      The Defendant’s request that the Court order the nature of his felony

conviction be kept from the jury is allowed. The Court has redacted that

portion of the indictment describing the Defendant’s conviction and a

redacted copy of the indictment will be provided to the jury during their

deliberations.

      As to Defendant’s Rule 404(b) issue, it is noted that the Government

has not filed an intent to introduce 404(b) evidence, and the motion as to

that ground is denied as moot.




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         The Defendant’s remaining issues contained in his motion in limine

will be deferred until such time as they are raised during the course of the

trial.

         IT IS SO ORDERED.



                                       Signed: July 6, 2007




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